Case 2:16-cv-14072-AMC Document 68 Entered on FLSD Docket 03/31/2017 Page 1 of 9




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  VIOLA BRYANT, as Personal                    Case No. 2:16cv14072-ROSENBERG/LYNCH
  Representative of the Estate of
  GREGORY VAUGHN HILL, JR.,

  Plaintiff,

  vs.

  SHERIFF KEN MASCARA in his official
  Capacity as Sheriff of St. Lucie County,
  and CHRISTOPHER NEWMAN,
  an individual,

  Defendants.
  ____________________________________/

  DEFENDANTS’ SHERIFF AND NEWMAN’S STATEMENT OF MATERIAL FACTS IN
         SUPPORT OF THEIR MOTIONS FOR SUMMARY JUDGMENT

          The Defendants, SHERIFF KEN MASCARA, in his official capacity as Sheriff of St. Lucie

  County, and CHRISTOPHER NEWMAN, individually, by and through undersigned counsel,

  pursuant to Local Rule 56.1(a) and this Court’s Order Setting Status Conference, Calendar Call, and

  Trial Date and Order of Reference to Magistrate [DE 8] files this their Statement of Material Facts

  in support of their Motions for Summary Judgment as follows:

                             STATEMENT OF MATERIAL FACTS

          1.     Defendant Sheriff Mascara is named in this proceeding in his official capacity only.

  (See Compl. ¶8).

          2.     Defendant Christopher Newman is named in this proceeding in his individual capacity

  only. (See Compl. ¶9).

          3.     At all times relevant to this matter, the Defendant Newman was acting within the

  course and scope of his employment with the Sheriff of St. Lucie County and was acting under color


                                                  1
Case 2:16-cv-14072-AMC Document 68 Entered on FLSD Docket 03/31/2017 Page 2 of 9




  of state law. (See Compl.¶s 9-10).

         4.      At the time of the subject incident, the Defendant Christopher Newman was a law

  enforcement officer with the St. Lucie County Sheriff’s Office. (See Compl. ¶9).

         5.      Deputy Newman began his employment with the St. Lucie County Sheriff’s Office

  in October 1, 2013. (See Exhibit “A”- Newman depo. pg. 5/lines 22-23). He had previously worked

  as a law enforcement officer with the Fort Pierce Police Department from 1999 to 2009 and then

  from 2009 to 2013 he worked for the Florida Division of Alcoholic Beverages and Tobacco. (See

  Exhibit “A” - Newman depo. pg. 5/line 25- pg. 6/line 4).

         6.      On January 14, 2014, at approximately 3:00 p.m., Defendant deputy Christopher

  Newman and Deputy Edward Lopez arrived at Gregory Hill’s residence located at 1501 Avenue Q,

  Fort Pierce, St. Lucie County, Florida in response to a noise complaint for loud vulgar music

  emanating from the garage of the residence. (See Compl. pg. 3/¶11; Exhibit “A” - Newman depo.

  pg. 14/lines 17-19, pg. 19/line 9 - pg. 20/line 9).

         7.      The complaint for loud vulgar music was received via a 911 call from a parent

  (Stefani Mills) who was picking up children at the elementary school across the street from the Hill

  residence. (See Exhibit “B”- Mills depo. pg. 10/lines 16-24).

         8.      Ms. Mills called because of really loud music with a lot of profanity coming from

  large speakers inside of an open garage. The house was very close to the elementary school. (See

  Exhibit “B” - Mills depo. pg. 11/line 15 - pg. 12/line 8, pg. 14/lines 11-20, pg. 15/lines 9-19,

  pg.17/lines 7-15).

         9.      In response to the concerned parent’s 911 call, Defendant deputy Newman and

  Deputy Edward Lopez, both of whom were dressed in standard issued SLSO uniforms and were each

  driving marked SLSO patrol cars, went to the home located at 1501 Avenue Q in Fort Pierce. (See


                                                        2
Case 2:16-cv-14072-AMC Document 68 Entered on FLSD Docket 03/31/2017 Page 3 of 9




  Exhibit“A” - Newman depo. pg.19/lines 9- pg. 20/line 9; Exhibit “B” Mills depo. pg. 21/lines 15 -

  22 , pg. 28/line 24 - pg. 29/line 6; Exhibit “H” McGuire depo. - pg. 39/lines 15 -25.

         10.       Upon arrival, the Defendant Newman knocked on the front and garage doors of the

  residence in an attempt to speak with the person responsible for the loud vulgar music which was

  still playing. (See Compl. pg. 4/¶13; Exhibit “A” Newman depo. pg.25/lines 4 -20; Exhibit “C”

  Lopez depo. pg. 32/lines 13 - 23).

         11.       Deputy Lopez also knocked on the garage door. (See Exhibit “C” Lopez depo. pg.

  34/lines 3-9).

         12.       Deputy Newman intended to merely ask the occupant to lower the music. (See Exhibit

  “A” Newman depo. pg. 40/lines 13 -15).

         13.       While Deputy Newman was still standing near the front door, and Deputy Lopez was

  near the west side of the garage door, the garage door suddenly began to go up. (See Exhibit “A”

  Newman depo. pg. 25/lines 20 -25, pg. 42/lines 5 -14; Exhibit “B” Mills depo. pg. 24/lines 7 -22,

  Exhibit “C” Lopez depo. pg. 32/lines 20 - 23).

         14.       At that time, both deputies Newman and Lopez saw a black male (later identified as

  Gregory Hill) opening the garage door with his left hand while holding a gun in his right hand.(See

  Exhibit “A” Newman depo. pg. 25/line 23 - pg. 26/line 6; Exhibit “C”-Lopez depo. pg. 37/lines 5-

  10).

         15.       Once deputy Newman saw Hill with a gun in his hand, Deputy Newman drew his

  firearm. (See Exhibit “A” Newman depo. pg. 81/lines 13 - 16).

         16.       Deputy Newman identified himself as a law enforcement officer and yelled: “Gun”

  “Drop the gun!” (See Exhibit “A” Newman depo. pg 83/line 20 - pg. 84/line 5).

         17.       Deputy Newman yelled “gun” “drop the gun” one more time as loud as he could.


                                                   3
Case 2:16-cv-14072-AMC Document 68 Entered on FLSD Docket 03/31/2017 Page 4 of 9




  Deputy Newman saw Hill kind of look his way and then the garage door started coming down as Hill

  was raising the gun. (See Exhibit “A” Newman depo. pg. 26/lines 13 -18).

         18.     Deputy Lopez identified himself as a law enforcement officer and yelled:“Sheriff’s

  office, Sheriff’s office” when the garage door started to come up. (See Exhibit “C” Lopez depo. pg.

  34/line 25 - pg. 35/line 13).

         19.     Deputy Lopez also yelled : “gun, gun, gun, drop the gun, drop the gun, drop the gun!”

  (See Exhibit “C” Lopez depo. pg. 37/lines 2- 21).

         20.     Deputy Lopez heard Deputy Newman say “hey”and saw Hill look toward Deputy

  Newman and start to drop the garage door. (See Exhibit “C” Lopez depo. pg. 37/lines 23 - 25).

         21.     Despite the deputies’ orders, Hill raised the gun in the direction of Deputy Lopez who

  was standing directly in front of Mr. Hill. (See Exhibit “A” Newman depo. pg.46/lines 15 - 20;

  Exhibit “C” Lopez depo. pg. 37/lines 13 - 21, pg. 40/lines 11 - 16).

         22.     After Hill failed to comply with numerous orders to drop the gun, and as he believed

  that his life and the life of deputy Lopez was in imminent danger, Deputy Newman shot at Hill four

  times as the garage door went down and closed. (See Exhibit “A” Newman. depo. pg.26/line 23 -

  pg. 28/line 1, pg. 56/lines 11 - 15, pg. 40/lines 19-25; pg. 84/lines 6-10).

         23.     Deputy Lopez also thought that he was going to be shot by Mr. Hill. (See Exhibit “C”

  Lopez depo. pg. 40/lines 11 - 21).

         24.     As soon as Hill started to raise his gun in the direction of Deputy Lopez, Deputy

  Lopez started to draw his gun and retreat. (See Exhibit “C” Lopez depo pg. 38/line 23 - pg. 39/line

  3).

         25.     Deputy Lopez recalled that he and deputy Newman ran for cover behind Deputy

  Lopez’s marked patrol car which was parked in front of the residence and called out on the radio that


                                                    4
Case 2:16-cv-14072-AMC Document 68 Entered on FLSD Docket 03/31/2017 Page 5 of 9




  shots had been fired. (See Exhibit “C” Lopez depo. - pg. 44/lines 12 - 17).

         26.      Deputy Newman recalls going around and covering the back of the house (See Exhibit

  “A” Newman depo. pg. 37/line 23 - pg. 38/line 10).

         27.      Neither deputy Newman nor deputy Lopez knew whether or not Gregory Hill had

  been struck by any of Deputy Newman’s bullets. (See Exhibit “A” Newman depo. pg.37/lines 15 -

  16, pg. 38/lines 1 - 2; Exhibit “C” Lopez depo. pg. 43/lines 21 - 24, pg. 44/lines 2 - 10).

         28.      Thereafter, numerous attempts were made by Sheriff’s office personnel who arrived

  after the shooting to contact Mr. Hill. These attempts were unsuccessful. (See Exhibit “D” SWAT

  memo pg. 2).

         29.      Law enforcement on scene was advised by a family member that Mr. Hill was alive

  and unharmed in the house but was not willing to voluntarily come out. (See Exhibit “D” SWAT

  memo - pg.2).

         30.      There was also a concern that a mentally handicapped child may have been in the

  home with Mr. Hill. This likewise turned out not to be the case. (See Exhibit “D” SWAT memo-

  pgs. 1, 2; See also Exhibit “A” Newman depo. pg. 52/lines 4 -17).

         31.      After it was learned that there was likely no one else in the house other than Mr. Hill,

  the SWAT team introduced chemical agents into the home in an attempt to get Hill to exit the

  residence. This attempt was unsuccessful. (See Exhibit “D” SWAT memo pg.2).

         32.      Thereafter, the SLSO’s Bomb Team’s robot with a camera was able to be utilized to

  view inside the garage. (See Exhibit “D” SWAT memo pg. 2).

         33.      At that time it was discovered that Mr. Hill was lying in a pool of blood inside of his

  garage. A dark object was seen in his back pocket on the robot’s remote camera. (See Exhibit “E” -

  photo of Hill in garage).


                                                     5
Case 2:16-cv-14072-AMC Document 68 Entered on FLSD Docket 03/31/2017 Page 6 of 9




          34.        The SWAT team then entered the residence and found Mr. Hill, deceased, in the

  garage. (See Exhibit “D” SWAT memo pg. 2).

          35.        A hand gun (Kel-Tec) was located in Hill’s right back pocket. (See Exhibit “F” -

  photo of gun found in Hill’s pocket; Exhibit “A” Newman depo. pg. 78/lines 12 - 13).

          36.        On the police radio, in the moments following the shooting, Deputy Newman

  identified the gun that had been in Hill’s hand as possibly being a Kel-Tec model hand gun. (See

  Exhibit “A” -pg. 76/lines 10 - 16; Exhibit “G” transcript of radio communications - pg. 2 (time of

  15:28:14)).

          37.        Deputy Lopez indicated on the radio that he thought the gun in Mr. Hill’s hand looked

  more like a Glock., model 30, 22 or 27. (See Exhibit “A”- pg. 77/line 24 - pg. 78/line 11; Exhibit

  “G” transcript of radio communications - pg. 2 (time of 15:29:06)).

          38.        Several civilian witnesses nearby saw portions of the subject shooting. They noted

  that it was dark in the garage and they had difficulty seeing into the garage. (See Exhibit “B” Mills

  depo. pg. 28/lines 3 -17, pg. 28/line 23 - pg. 29/line 2; Exhibit “H” Mcguire depo. pg. 16/lines 6 -

  13, pg.41/lines 6 -12; Exhibit “I” -depo of Enriquez Ruiz - pg.20/line 20 - pg. 21/line 5).

          39.        As to Count I of the Complaint, the Defendant Sheriff Mascara, had no custom,

  policy, practice or procedure at the time of the subject incident which would have caused Plaintiff’s

  decedent’s constitutional rights to be violated as alleged. (See Exhibit “J” - Aff. of Lt. Sheelar and

  Comp. Exh. “1" attached thereto).

          40.        The St. Lucie County Sheriff’s Office did not permit or tolerate the use of excessive

  force. (See id).

          41.        Additionally, when it is established that a St. Lucie County Sheriff’s deputy has

  violated Sheriff’s Office policy or procedure, that individual is subjected to appropriate disciplinary


                                                       6
Case 2:16-cv-14072-AMC Document 68 Entered on FLSD Docket 03/31/2017 Page 7 of 9




  sanctions, to include termination. (See id including St. Lucie County Sheriff’s Office General Order

  15.02). Thus the Sheriff does not have a practice of tolerating known uses of excessive force.

         42.     The Complaint contains conclusory allegations regarding the alleged existence of

  unconstitutional policies, practices or customs of the St. Lucie County Sheriff’s Office. (See

  Complaint ¶s 25 - 31).

         43.     The record evidence reflects that deputies with the St. Lucie County Sheriff’s Office,

  to include Defendant Christopher Newman, were trained in accordance with St. Lucie County

  Sheriff’s Office policy and the standards set forth by the Florida Department of Law Enforcement

  and Criminal Justice Standards and Training Commission guidelines. (See Exhibit “J” - Aff. of Lt.

  Sheelar & policies attached thereto).

         44.     The Defendant deputy Newman undergoes annual in-service training. (See Exhibit

  “J” - Aff. of Lt. Sheelar/¶4).

         45.       Deputy sheriffs employed by the St. Lucie County Sheriff’s Office, whom are

  assigned to the law enforcement division, including Deputy Christopher Newman, are sworn

  certified law enforcement officers in accordance with Florida Statute Chapter 943 and as established

  by the Criminal Justice Standards and Training Commission/Florida Department of Law

  Enforcement. [CJSTC/FDLE]. (See Exhibit “J”- Aff. of Lt. Sheelar/¶4).

         46.     Christopher Newman met all of the requirements, in accordance with Florida Statute

  Chapter 943 and CJSTC/FDLE, to be a law enforcement officer and to enforce the laws of the State

  of Florida on January 14, 2014, and he continues to meet those requirements today. (See Exhibit

  “J”- Aff. of Lt. Sheelar/¶4).

         47.     Consequently, Christopher Newman was a certified law enforcement officer on

  January 14, 2014, the day he had contact with Gregory Hill. This means that Christopher Newman


                                                   7
Case 2:16-cv-14072-AMC Document 68 Entered on FLSD Docket 03/31/2017 Page 8 of 9




  completed a police academy and met the requirements established by the CJSTC/FDLE to be a law

  enforcement officer in the State of Florida, including instruction on the need for probable cause to

  make an arrest, reasonable suspicion to stop and investigate suspected illegal conduct and that any

  use of force must be objectively reasonable and necessary under the totality of the circumstances.

  (See Exhibit “J”- Aff. of Lt. Sheelar/¶4).

         48.     The St. Lucie County Sheriff’s Office provides in-service training to sworn certified

  law enforcement officers, each and every year, in an amount that exceeds the requirements of Florida

  Statute 943.135(1). The topics covered vary, depending on the needs at the time, and are in full

  compliance with the requirements of the CJSTC/FDLE, including topics related to the reasonable

  use of force. (See Exhibit “J”- Aff. of Lt. Sheelar/¶4).

         49.     Deputy sheriffs employed by the St. Lucie County Sheriff’s Office, including

  Christopher Newman, are trained that they are only authorized to use that amount of force which is

  objectively reasonable and necessary under the totality of the circumstances and are otherwise not

  authorized to use excessive or unnecessary force. The focus in training is on the objectively

  reasonable and necessary use of force in response to resistance as contemplated by Graham v.

  Connor, 490 U.S. 386 (1989). In addition, instruction and situational based training is provided

  regarding the use of deadly force only under circumstances where it is objectively reasonable to

  believe that deadly force is necessary to prevent the imminent use of deadly force or to prevent

  imminent great bodily harm. (See Exhibit “J”- Aff. of Lt. Sheelar/¶5).

         50.     The use of force related policies of the St. Lucie County Sheriff’s Office which were

  in effect at the time of the subject incident on January 14, 2014, and which governed the use of force

  upon Mr. Hill, and which are dependent upon the totality of the facts and circumstances known to

  the deputy using force, do not authorize the use of excessive force. (See Exhibit “J”- Aff. of Lt.


                                                    8
Case 2:16-cv-14072-AMC Document 68 Entered on FLSD Docket 03/31/2017 Page 9 of 9




  Sheelar/¶6).



          I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the Court
  using the CM/ECF and furnished via email a copy to: John M. Phillips, Esquire, Law Office of
  John M. Phillips, LLC, 4230 Ortega Boulevard, Jacksonville, FL 32210;
  jphillips@floridajustice.com, dmalone@floridajustice.com, this 31st day of March, 2017.

                                      PURDY, JOLLY, GIUFFREDA & BARRANCO, P.A.
                                      Attorneys for Defendants
                                      2455 East Sunrise Boulevard, Suite 1216
                                      Fort Lauderdale, Florida 33304
                                      Telephone (954) 462-3200
                                      Telecopier (954) 462-3861
                                      Email: summer@purdylaw.com
                                             melissa@purdylaw.com

                                      BY     s/ Summer M. Barranco
                                             SUMMER M. BARRANCO
                                             Fla. Bar No. 984663




                                                9
